                                                                               027,21*5$17('


                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION




UNITED STATES OF AMERICA                     )
                                             )
                                             )
v.                                           )       NO.    3:12-00137
                                             )              JUDGE SHARP
                                             )
TASHA ANDREA SMITH                           )




                 MOTION TO RESCHEDULE SENTENCING HEARING



       Comes now the Defendant, TASHA ANDREA SMITH, by and through counsel, and moves

the Court to reschedule the sentencing hearing from 10:00 a.m. on July 8, 2013, until 3:30 p.m. on

July 8, 2013.

       Counsel for the Government has been contacted and has no opposition to this request.


                                                     Respectfully submitted,


                                                                /s/ Michael J. Flanagan
                                                     Michael J. Flanagan
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